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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


ANTHONY CAIRNS,                                )
                                               )
                        Plaintiff,             )
                                               )       CIVIL ACTION
vs.                                            )
                                               )       FILE No. 3:19-CV-2029
A GONZALEZ INVESTMENTS LTD.,                   )
                                               )
                        Defendant.             )


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff,    ANTHONY         CAIRNS    (“Plaintiff”)   and   Defendant,   A   GONZALEZ

INVESTMENTS LTD. (“Defendant”), by and through undersigned counsel and pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby jointly stipulate to the dismissal

of Defendant, A GONZALEZ INVESTMENTS LTD., and this entire Action with prejudice.

Each party to bear their own fees and costs.

             Respectfully submitted this 16th day of April, 2020.



                                               Law Offices of
                                               THE SCHAPIRO LAW GROUP, P.L.

                                               /s/ Douglas S. Schapiro
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                              CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 16th day of April, 2020, we electronically filed the

forgoing with the Clerk of the Court by using the CM/ECF system.


                                          /s/ Douglas S. Schapiro
                                          Douglas S. Schapiro
                                          Northern District of Texas ID No. 54538FL
